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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS

DEBORAH LAUFER,
         Plaintiff,
v.                                                Case No: 1:20-cv-3527

U.L.S.T., LLC dba WATERFRONT
HOTEL & MARINA,
             Defendant.




 PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANT’S MOTION TO
                            DISMISS



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I.      Introduction

        Plaintiff, is a Florida resident and disabled person within the meaning of the Americans

With Disabilities Act, 42 U.S.C. Sections 12181, et seq. (“ADA”), and relies on a wheelchair or

cane to ambulate and is vision impaired. Defendant books rooms for its hotel through an online

online reservations service operated through multiple websites. (Hereinafter “websites”, “online

reservations systems” or “ORS”.) Laufer Affid., para. 6, Exhibit A attached hereto. The purpose

of this ORS is so that Defendant can reach out and market to persons all over the country,

including Florida, in their own homes, to solicit their patronage, provide them with information

so that they can make a meaningful choice in planning trips, and, in some instances, book a room

at the hotel. As such, the Defendant’s ORS is required to comply with the requirements of 28

C.F.R. Section 36.302(e)(1)(hereinafter “Regulation”), by identifying and allowing for booking

of accessible rooms and providing accurate and sufficient information as to whether all the

features at the hotel are accessible. On multiple occasions prior to the filing of this lawsuit,

Plaintiff reviewed the ORS for Defendant’s hotel and found that it did not comply with the

Regulation. Laufer Affid., para. 6. Plaintiff therefore filed the instant action for injunctive relief

pursuant to the ADA. Defendant does not contest the fact that its ORS discriminates against

disabled persons. Instead, Defendant filed its motion arguing that plaintiff lacks standing unless

she intends to travel to the hotel. (Hereinafter “physical nexus” requirement.). For the reasons set

forth below, Defendant’s argument must fail.

II.     Standard

        Under Fed. R. Civ. P. 12(b)(6), the Court must accept "all well-pleaded factual

allegations as true and view[s] them in the light most favorable to the plaintiff." RLJ Lodging


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Trust v. Nat'l Ret. Fund, 2018 U.S. Dist. LEXIS 143911, *9 (N.D. Ill. 2018). When ruling on a

motion to dismiss for lack of jurisdiction under Fed. R. Civ. P. 12(b)(1), a district court “must

accept as true all well-pleaded factual allegations, and draw reasonable inferences in favor of the

plaintiff.” Ezekiel v. Michel, 66 F.3d 894. 897 (N.D. Ill. 1995). 12(b)(1) motions are not meant to

decide the merits of the case. PrimeSource Healthcare of Ohio, Inc. v. Sebelius, 2014 U.S. Dist.

LEXIS 93293, *7 (N.D. Ill. 2014); Weiler v. Household Fin. Corp., 101 F.3d 519, 524 n.1 (7th

Cir. 1996). A court can transform a motion for dismissal into one for summary judgment, when

matters outside the pleading are presented. Capitol Leasing Co. v. FDIC, 999 F.2d 188, 191 (7th

Cir. 1993).

II.     Defendant’s Theory Has Been Widely Rejected

        Defendant cites only two ORS discrimination cases in its favor and ignores the

overwhelming body of authorities which have considered and rejected such arguments. In Parks

v. Richard, 2020 U.S. Dist. Lexis 86790 (M.D. Fla. 2020), one court rejected the defendant’s

argument that the plaintiff needed to intend to book a room at the hotel. The court held that the:

        ADA claim is based upon [defendant's] website failing to identify the accessible features
        of the motel and its rooms, in violation of 28 C.F.R. § 36.302(e)(1)(ii). Therefore, the
        relevant 'future injury' inquiry relates to the motel's website and reservation system, rather
        than the motel's physical property." [Citation omitted.] While Parks may have never
        visited the motel, he visited its website and several third-party sites.

Id. at *7. In Kennedy v. Gold Sun Hospitality, LLC, 8:18-cv-842-T-33CPT, DE 23, at pp. 30-31,

(M.D. Fla. June 18, 2018), another court rejected a physical nexus argument, holding that the

plaintiff’s injury occurred in comfort of her own home when she visited defendant’s

discriminatory hotel website. In Kennedy v. Swagath Hospitality, LLC, 0:19-cv-60583-DPG, DE

27 (S.D. Fla. 1/2/2020), another court rejected the defendant’s physical nexus argument, stating:


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        Plaintiff alleges that (1) she visited Defendant's website to ascertain whether it met the
        requirements of 28 C.F.R. Section 36.302(e), (2) she intends to return to the website to
        test it for compliance and/or to reserve a guest room, and (3) Defendant's failure to
        comply with the Americans with Disabilities Act ("ADA") is ongoing and harmful to
        her..... Based on these allegations, the Court finds that Plaintiff has sufficiently alleged an
        injury-in-fact and an intent to the return to the website in the future.

        In Kennedy v. WGA, 2:19-cv-0095-RWS, DE 16, p. 9 (N.D. Ga. 11/5/2019), another court

rejected a defendant’s physical nexus argument (filed at DE 5). The court stated: “[Defendant]’s

argument [] centers on whether [plaintiff] suffered a concrete and particularized injury only from

visiting [the hotel’s] website and not the physical premises. DE 16, at pp. 7-8. The court held

that: “visiting the website suffices” and that “a plaintiff’s inability to fully and effectively use an

establishment’s website constitutes an injury-in-fact.” Id. at 9. See also Poschmann v. Fountain

TN, LLC, 2019 U.S. Dist. Lexis 159417, **4-6 (M.D. Fla. 2019)(holding that the plaintiff’s ADA

claim was based on the discriminatory website and, “[t]herefore, the relevant "future injury"

inquiry relates to the motel's website and reservation system, rather than the motel's physical

property.” )L Poschmann v. Coral Reef of Key Biscayne Developers, Inc., 2018 U.S. Dist. Lexis

87457. *8 (S.D. Fla. 2018)(proper motive for returning to discriminatory website is either “to

determine whether the Hotel is accessible to him, and, if so, to reserve a room at the Hotel or to

test the Hotel's Website reservation system for its compliance with the ADA.”); Kennedy v. Nila

Investments, LLC, 2:19-cv-90-LGW-BWC, DE 34. p.5 (S.D. Ga. 7/1/20)(after an evidentiary

hearing, finding that the plaintiff suffered discrimination when she visited the non-compliant

ORS “for the purpose of assessing the accessibility features of the property and to ascertain

whether those sites met her accessibility needs as well as the requirements of 28 C.F.R. §

36.302(e)(1).” Other courts rejected the defendants’ arguments that intent to book a room or visit



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the hotel was required. See Kennedy v. New Yorker Hotel, Miami, LLC, 0:18-cv-62897-WPD,

DE 34 (6/6/19); Kennedy v. Murnane, et al., 0:18-cv-63086-WPD, DE 10 (S.D. Fla. 3/5/19);

and Kennedy v. Galleon Resort Condominium Assn, Inc., et al., 19-cv-62421-CMA, DE 52 (S.D.

Fla. 1/28/20). Numerous other courts have held that a disabled person suffers injury-in-fact when

they visit a hotel’s discriminatory online reservations system. See Kennedy v. Sai Ram Hotels,

LLC, 2019 U.S. Dist. LEXIS 80111, *4-6 (M.D. Fla. 5/13/19), citing Honeywell v. Harihar Inc.,

2018 U.S. Dist. LEXIS 203740,(M.D. Fla. Dec. 3, 2018); Kennedy v. Floridian Hotel, Inc., 2018

U.S. Dist. LEXIS 207984, at *9 (S.D. Fla. 2018); Poschmann v. Liberty Inn Motel, LLC,

2:18-cv-14348, ECF No. 17 at 4-5 (S.D. Fla. Jan. 23, 2019); Brooke v. Hotel Inv. Grp., Inc., 2017

U.S. Dist Lexis 150717, * 6 (D. Ariz. 2017); Brooke v. Regency Inn-Downey, LLC, 2017 U.S.

Dist. Lexis 150716 (D. Ariz. 2017). This injury occurs in the comfort of the plaintiff’s own

home. Gold Sun, at pp. 30-31 (plaintiff’s injury occurred in comfort of her own home when she

visited defendant’s discriminatory hotel website). Additional cases support the proposition that

viewing a discriminatory commercial website constitutes injury-in-fact in the context of vision

impairment based claims. See, e.g. Carroll v. Fedfinancial Fed. Credit Union, 324 F. Supp. 3d

658, 664 (E.D. Va. 2018); Access Now, Inc. v. Otter Prods., LLC, 280 F. Supp. 3d 287, 294 (D.

Mass. 2017); Jones v. Piedmont Plus Fed. Credit Union, No. 1:17-CV-5214- RWS, 2018 WL

4694362, at *1 (N.D. Ga. Sept. 26, 2018); Jones v. Family First Credit Union, No.

1:17-CV-4592-SCJ, 2018 WL 5045231, at *4 (N.D. Ga. Aug. 6, 2018). For example, in

Camacho v. Vanderbilt Univ., 2019 U.S. Dist. Lexis 209202, *30 (S.D.N.Y. 2019), one court

rejected the notion that the plaintiff’s possible visit to the subject property was at issue, holding:

       Plaintiff has claimed that he was denied access to the Website, not Defendant's physical


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         location itself. Thus, Defendant need not have shown that he intended to "return" to
         Defendant's school in Nashville, Tennessee. He is only required to have established a
         reasonable inference that he intended to return to the Website...

III.     The Rules Of Statutory Construction Prohibit The Imposition Of A Physical Nexus
         Requirement

         Plaintiff’s claims are based on the following: 42 U.S.C. Section 12182(a) provides:

         No individual shall be discriminated against on the basis of disability in the full and equal
         enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
         any place of public accommodation by any person who owns, leases (or leases to), or
         operates a place of public accommodation.

42 U.S.C. Section 12182(b)(2)(A) expands on the definitions of the above subsection to include:

         a failure to make reasonable modifications in policies, practices, or procedures, when
         such modifications are necessary to afford such goods, services, facilities, privileges,
         advantages, or accommodations to individuals with disabilities, unless the entity can
         demonstrate that making such modifications would fundamentally alter the nature of such
         goods, services, facilities, privileges, advantages, or accommodations

42 U.S.C. Section 12182(b)(2)(A)(ii). This latter subsection is the subject of regulations

promulgated by the Department Of Justice (“DOJ”).1 Specifically, the DOJ promulgated 28

C.F.R. Section 36.302(e)(1)(hereinafter “Regulation”), which provides:

         (1)Reservations made by places of lodging. A public accommodation that owns, leases
         (or leases to), or operates a place of lodging shall, with respect to reservations made by
         any means, including by telephone, in-person, or through a third party -
         (i) Modify its policies, practices, or procedures to ensure that individuals with disabilities
         can make reservations for accessible guest rooms during the same hours and in the same
         manner as individuals who do not need accessible rooms;
         (ii) Identify and describe accessible features in the hotels and guest rooms offered through
         its reservations service in enough detail to reasonably permit individuals with disabilities
         to assess independently whether a given hotel or guest room meets his or her accessibility
         needs; ....



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        The DOJ promulgated 28 C.F.R. 36.302 to carry out the provisions of the ADA.
Poschmann v. Coral Reef of Key Biscayne Developers, Inc., 2018 U.S. Dist. LEXIS 87457 *6
(S.D. Fla. May 23, 2018).

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       It is paramount that the plain words of the Statute and duly promulgated Regulation

govern. Iinterpretation of any statute begins with "the language of the statute itself." Capitol

Leasing Co. v. FDIC, 999 F.2d 188, 192 (7th Cir. 1993). If the wording is unambiguous, this

court must enforce the congressional intent embodied by the statute. Id. “Our duty is to say what

statutory language means, not what it should mean, and not what it would mean if we had drafted

it.” Marod, 733 F.3d at 1333-34. "We are not at liberty to rewrite the statute to reflect a meaning

we deem more desirable.". Marod, 733 F.3d at 1334, citing Ali v. Fed. Bureau of Prisons, 552

U.S. 214, 228 (2008). More significantly, if such additional restrictive language is found

elsewhere in the Statute, but not in the provisions governing the case at bar, such exclusion is

dispositive.

        "[W]here Congress includes particular language in one section of a statute but omits it in
       another section of the same Act, it is generally presumed that Congress acts intentionally
       and purposely in the disparate inclusion or exclusion."

INS v. Cardoza—Fonseca, 480 U.S. 421, 432 (1987).

       The Statute and Regulation are directly on point and unambiguously spell out all the

elements of a cause of action. Failure of an online reservations system to comply with the

requirements of the Regulation constitutes a failure to comply with 42 U.S.C. Section

12182(b)(2)(A)(ii). This qualifies as “discrimination” and is thus a violation of 42 U.S.C.

Section 12182(a) and is thus fully actionable without more required.

       A website is a “service” of a place of public accommodation. Haynes v. Dunkin Donuts,

LLC, 741 Fed. Appx. 752, 754 (11th Cir. 2018)(unpublished opinion)(describing a commercial

website as a “service” of a place of public accommodation); Nat’l Fed’n Of The Blind v. Target

Corp., 452 F. Supp. 946, 953 (N.D. Cal. 2006)(same). 42 U.S.C. Section 12182(a) clearly spells


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out a complete cause of action as follows: “No individual shall be discriminated against on the

basis of disability in the full and equal enjoyment of the ... services ... of any place of public

accommodation...” Because the websites are a “service”, all that is required is that a disabled

person be deprived of full and equal enjoyment of this “service”. Once that occurs, all the

elements are satisfied to establish a cause of action. Conspicuously absent from the Regulation or

the Statute is any requirement that the disabled person must additionally intend to be a customer

or, in this case, book a room and stay at the hotel as a requirement for a cause of action.

        Additionally, 42 U.S.C. Section 12188(a) provides that: “The remedies and procedures

set forth in section 2000a–3(a) of this title are the remedies and procedures this subchapter

provides to any person who is being subjected to discrimination on the basis of disability in

violation of this subchapter...” (Emphasis added.) 42 U.S.C. Section 12182(b)(2)(A) expressly

provides that “discrimination” includes a violation of 42 U.S.C. Section 12182(b)(2)(A)(ii).

Because a non-compliant ORS violates this latter subsection, it is therefore “discrimination” and

thus actionable to “any person” who encounters it.

        The rules of statutory construction mandate a finding that a physical nexus requirement

can NOT be imposed because any language expressing this requirement is conspicuously missing

from the above cited Regulation and Statutory subsections. As set forth in the following cases,

the imposition of substantially similar requirements have been extensively considered and

rejected because they were noted to be present in other statutes or subsections, but absent from

the applicable sections or subsections governing the claims before the courts reviewing them.

        In Houston v. Marod Supermarkets, Inc., 733 F.3d 1323 (11th Cir. 2013), the Eleventh

Circuit held that a disabled tester has standing to pursue a Title III ADA case for violations of 42


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U.S.C. Section 12182. Generally, it held that a plaintiff’s motive and intent are entirely irrelevant

and that there is no requirement that they be a client or customer or a bona fide customer. In this

regard, the Eleventh Circuit relied on Supreme Court cases and applied the rules of statutory

construction. Both Marod, 733 F.3d at 1333, and PGA Tour v. Martin, 532 U.S. 661, 678-79

(2001), held that an ADA plaintiff suing under 42 U.S.C. Section 12182(a) does not have to be a

“client or customer” of the defendant. In both cases, the Eleventh Circuit and Supreme Court

noted that a different subsection of the same statute contained a “client or customer”

requirement that was not present in the plain language of Subsection 12182(a). Therefore, both

courts held, the requirement could not be applied. Because the “client or customer” language was

present in one subsection, but missing from the subsection that governed, the requirement could

not be imposed. In PGA Tour, 532 U.S. at 678-79, the defendant had argued that the plaintiff

had no standing to sue unless he was a “client or customer” of the place of public

accommodation. The Court rejected this notion. As the Court observed, the Statute’s “client or

customer” limitation was set forth in only one Subsection of the Statute, but missing from others

that governed the case before it. Specifically, Section 12182(b)(1)(A)(iv) contained the “clients

or customers” limitation. However, the Subsection at issue in PGA Tour, namely 12182(a)2 did

NOT contain this limiting language. Therefore, the Court stated that: “clause (iv) is not literally

applicable to Title III’s general rule prohibiting discrimination against disabled individuals. Title

III’s broad general rule contains no express “clients or customers” limitation...” PGA Tour, 532

U.S. at 679 (citing Subsection 12182(a)). Therefore, as the Supreme Court observed, limiting

language contained in one Subsection of Title III cannot be applied to other Subsections of the

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           Subsection 12182(a) is the same Subsection that governs the instant action.

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same statute where that language is missing.

       In Marod, the Eleventh Circuit considered other cases applying other civil rights statutes.

Among these was Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), discussed by the

Marod Court at 733 F.3d at 1330. As noted by Marod regarding Havens:

       The Supreme Court concluded that a black tester who was misinformed about the
       availability of a rental property had alleged sufficient injury-in-fact to support standing to
       sue under § 804(d) of the FHA. Id. at 374, 102 S. Ct. at 1121-22. The plaintiff-tester in
       Havens Realty never intended to rent the apartment; rather, his sole purpose was to
       determine whether the defendant engaged in unlawful practices. Id.
                In considering the tester's standing, the Supreme Court in Havens Realty explained
       that the "'the actual or threatened injury required by Art. III may exist solely by virtue of
       statutes creating legal rights, the invasion of which creates standing." Id. at 373, 102 S. Ct.
       at 1121 (alterations adopted) (quoting Warth v. Seldin, 422 U.S. 490, 500, 95 S. Ct. 2197,
       2206, 45 L. Ed. 2d 343 (1975)); see also Linda R.S. v. Richard D., 410 U.S. 614, 617 n.3, 93
       S. Ct. 1146, 1148 n.3, 35 L. Ed. 2d 536 (1973) ("Congress may enact statutes creating legal
       rights, the invasion of which creates standing, even though no injury would exist without the
       statute."). The statutory language of the relevant FHA provision, § 804(d), was therefore
       critical to the Supreme Court's decision. Havens Realty, 455 U.S. at 373, 102 S. Ct. at 1121.

Marod, 733 F.3d at 1330. The Court also noted:

       The Supreme Court therefore concluded that § 804(d) "establishes an enforceable right to
       truthful information concerning the availability of housing" and "[a] tester who has
       been the object of a misrepresentation made unlawful under § 804(d) has suffered injury
       in precisely the form the statute was intended to guard against, and therefore has standing
       to maintain a claim for damages under the Act's provisions." [Citation omitted.]
               The Supreme Court admonished "[t]hat the tester may have approached the real
       estate agent fully expecting that he would receive false information, and without any
       intention of buying or renting a home, does not negate the simple fact of injury within
       the meaning of § 804(d)." Id. at 374; 102 S. Ct. at 1121. The Supreme Court explained
       that "[w]hereas Congress, in prohibiting discriminatory refusals to sell or rent in § 804(a)
       of the Act, 42 U.S.C. § 3604(a), required that there be a 'bona fide offer' to rent or
       purchase, Congress plainly omitted any such requirement insofar as it banned
       discriminatory representations in § 804(d)." Havens Realty, 455 U.S. at 374; 102 S. Ct. at
       1122.

Marod, 733 F.3d at 1330-31 (emphasis added).

       The case at bar is substantially similar to Havens Realty. Under Havens Realty, the plain


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language of the statute gave a right of action to a civil rights tester who encountered

discriminatory information about an apartment even though they did not intend to rent the

apartment. In other words, it was not necessary that the person intended to rent or visit the

physical location. Rather, encountering the discriminatory information was sufficient.

        In Marod, the Court also noted that other anti-discrimination statutes required that a

plaintiff have “bona fide” status. Marod, 733 F.3d at 1333. Because the bona fide requirement

was contained in other statutes, but not included in the applicable provisions of 42 U.S.C. 12182,

its requirement could not be imposed. Id. In Havens Realty, the Supreme Court applied the same

rule of statutory construction, noting that a requirement that a plaintiff be a “bona fide patron”

was included in one subsection of the applicable statute, but missing from the subsection that

applied to the case before it. Therefore, the bona fide requirement did not apply. Havens Realty,

455 U.S. at 374. In Marod, the Court stated:

        These examples illustrate that Congress has said so expressly when it wants to limit the
        class of people protected by anti-discrimination statutes to only clients or customers or to
        people of bona fide status. But Congress expressed no such limitation in the parts of Title
        III that are relevant to Plaintiff Houston's lawsuit. This absence of legislative language
        restricts our interpretation, as we are "not allowed to add or subtract words from a
        statute."

733 F.3d at 1333-34.

        The ability or inability to obtain information in violation of a statute was recognized as an

actionable injury by the Supreme Court in Federal Election Commission v. Akins, 524 U.S. 11,

20-25 (1998), which ruled that a group of voters' "inability to obtain information" that Congress

had decided to make public is a sufficient injury in fact to satisfy Article III. In this regard the

Supreme Court stated:



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       Indeed, this Court has previously held that a plaintiff suffers an "injury in fact" when the
       plaintiff fails to obtain information which must be publicly disclosed pursuant to a
       statute. Public Citizen v. Department of Justice, 491 U.S. 440, 449, 105 L. Ed. 2d 377,
       109 S. Ct. 2558 (1989) (failure to obtain information subject to disclosure under Federal
       Advisory Committee Act "constitutes a sufficiently distinct injury to provide standing to
       sue").
524 U.S. at 21. To the extent there is any room for doubt, there is in fact another subsection of

the Statute which DOES contain language imposing a physical nexus requirement. 42 U.S.C.

Section 12182(b)(2)(A)(i) prohibits:

       “the imposition or application of eligibility criteria that screen out or tend to screen out an
       individual with a disability or any class of individuals with disabilities from fully and
       equally enjoying any goods, services, facilities, privileges, advantages, or
       accommodations...” (Emphasis added.)

       In that Subsection, the word “from” is critical because its insertion in the Subsection

means that a disabled person’s encounter with discriminatory eligibility criteria by itself does not

give rise to a cause of action unless and until that criteria prevents them “from” full and equal

access to goods or services. This word, however, is conspicuously absent from either the

Statute’s Subsections or the Regulation that govern online reservations systems. Because an

ORS is a “service” of the place of public accommodation, and failure to comply with the

Regulation qualifies as “discrimination”, then nothing more is necessary. When a disabled person

encounters a non-compliant ORS, he has been “discriminated against on the basis of disability in

the full and equal enjoyment of ... services, ..., privileges, advantages...”   Thus, the plaintiff has

standing and there is no additional requirement that they actually visit the hotel or intend to book

a room. In short, the Plaintiff’s encounter with the discriminatory website IS the injury.

       The Supreme Court’s recent decision in Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016)

supports this conclusion. In Spokeo, the Supreme Court held that improper information which



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violated the Fair Credit Reporting Act did not, by itself, constitute injury. However, the Spokeo

Court specifically recognized the existence of statutes which provide that the dissemination of

improper information constitutes an injury with nothing more required. In this regard, the Spokeo

Court stated:

               Just as the common law permitted suit in such instances, the violation of a
       procedural right granted by statute can be sufficient in some circumstances to constitute
       injury in fact. In other words, a plaintiff in such a case need not allege any additional
       harm beyond the one Congress has identified. See Federal Election Comm’n v. Akins,
       524 U. S. 11, 20-25, [] (1998) (confirming that a group of voters’ “inability to obtain
       information” that Congress had decided to make public is a sufficient injury in fact to
       satisfy Article III); Public Citizen v. Department of Justice, 491 U. S. 440, 449, [] (1989)
       (holding that two advocacy organizations’failure to obtain information subject to
       disclosure under the Federal Advisory Committee Act “constitutes a sufficiently distinct
       injury to provide standing to sue”).

Spokeo, 136 S.Ct. At 1549-50. In the Akins decision referenced by Spokeo, the Supreme Court,

in turn, referenced Havens Realty as follows:

                Indeed, this Court has previously held that a plaintiff suffers an "injury in fact"
       when the plaintiff fails to obtain information which must be publically disclosed pursuant
       to a statute..... See also Havens Realty Corp. v. Coleman, 455 U.S. 363, 373-374[] (1982)
       (deprivation of information about housing availability constitutes "specific injury"
       permitting standing).

Akins, 524 U.S. at 21. Thus, the Spokeo Court neither overturned nor narrowed Havens Realty,

but instead acknowledged the body of law to which Havens Realty belongs.3 Indeed, the

concurring and dissenting opinions in Spokeo both expressly recognized Havens Realty. Spokeo,

136 S.Ct. at 1553, 1555 (Thomas J., Concurring)(Ginsburg, J. Dissenting).

       Many authorities in this Circuit have cited Havens Realty in recognizing informational



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         In Marod, passim, this Circuit Court found substantial similarities between the ADA and
the statute at issue in Havens Realty with regard to the issue of standing and the lack of any
motive requirement of the individual plaintiff.

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injury. “Being lied to in violation of an anti-trickery statute like the FDCPA is a concrete harm

nevertheless.” Haddad v. Midland Funding, LLC, 255 F. Supp. 3d 735, 739-40 (N.D. Ill.

2017)(“Havens Realty turns only on the misleading nature of the representations, not on the

racial motivation behind them”); See also Bensman v. United States Forest Serv., 408 F.3d 945,

955-57 (7th Cir. 2005)(surveying cases and statutes where informational injury is recognized and

actionable). As Bensman illustrates, where a statute requires that a protected person receive

certain information, failure to provide that information is actionable. In Village of Bellwood v.

Dwivedi, 895 F.2d 1521 (7th Cir. 1990), the Seventh Circuit followed Havens Realty in

recognizing the standing of testers to sue over false statements regarding housing. See also Kyles

v. J.K. Guardian Sec. Servs., 222 F.3d 289 (7th Cri. 2000). In United States v. Balistrieri, 981

F.2d 916, 929 (7th Cir. 1992), black testers who were given false information regarding housing

had standing to sue even though they had no intention of renting. See also Chicago v.

Matchmaker Real Estate Sales Center, Inc., 982 F.2d 1086, 1096 (7th Cir. 1992).

IV.     The Cases Cited By Defendant

        At p. 3 of its Brief, Defendant cites Carello v. Aurora Policemen Credit Union, 930 F. 3d

830 (7th Cir. 2019). However, this reliance is misplaced. Carello involved a credit union that only

served a closed group, from which the plaintiff was legally barred and to which he could never

become a member. Id. at 832, 833. Indeed, the Carello Court expressly confined its holding as

being no broader than that set forth in an identical case: Griffin v. Dep't of Labor Fed. Credit

Union, 912 F.3d 649 (4th Cir. 2019). Griffin confined its holding to whether “ this plaintiff who is

barred by law from making use of defendant's services may sue under the ADA for an allegedly

deficient website”, and expressly stated that it was not considering “ the rights generally of


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people with disabilities to sue for Internet-based harms under the ADA...” Id. at 652, 653.

       Significantly, the Carello Court distinguished itself from the sorts of websites applicable

to the case at bar, stating: “Carello does not complain that the Credit Union withheld

information....” Id. at 835. Thus, the Carello Court expressly distinguished the statute at issue

therein with the type of statute and regulation at issue herein - which prohibit the withholding of

information. Indeed, the Carello Court recognized that informational injury is actionable when

the defendant fails to provide information to a plaintiff that a law entitles him to obtain and

review for some substantive purpose. Id. at 835. Once that occurs, there is no additional

requirement that the plaintiff suffer any additional harm beyond his or her failure to receive the

information that the law renders subject to disclosure. Id., citing Spokeo.

       At p. 4 of its Brief, Defendant cites Laufer v. Laxmi & Sons, 2020 U.S. Dist. LEXIS

79545 (N. D. N.Y. 2020). However, the Laxmi Court issued no ruling, but simply ordered the

plaintiff to submit a brief. At p. 3 of its Brief, Defendant cites Harty v. Greenwich Hospitality

Group, LLC, 2013 U.S. App. LEXIS 22136 (2nd Cir. 2013). However, this case is entirely

inapposite because it involves physical violations encountered only at the physical property itself.

See Camacho, 2019 U.S. Dist. Lexis 209202, *30 (holding that Harty is inapposite to cases

involving website discrimination). Defendant cites only two ORS cases that support its

proposition: Hernandez v. Caesars License Co., LLC, 2019 U.S. Dist. LEXIS 172456 (N.J. Dist.

2019); and Strojnik v. Kapalua Land Co, 2019 U.S. Dist LEXIS 165525 (Hawaii 2019). See

Defendant’s Brief, p. 3. However, neither of these cases applied the rules of statutory

construction or provided any logical analysis to support their conclusions. For example, the

Hernandez court cites two cases to support its claim that a plaintiff must intend to book a room at


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the hotel. However, neither stand for such a proposition. The first case cited by Hernandez,

Juscinska v. Paper Factory Hotel, LLC, 2019 U.S. Dist. Lexis 92550 (S.D.N.Y. 2019), only

noted that the plaintiff had the intention of booking a room. It never held that such an intent was

required. Noting that the plaintiff intended to book a room is far different from holding that this

is a requirement of the law. The second case cited by the Hernandez Court, Coral Reef Of Key

Biscayne Developers, Inc., 2018 U.S. Dist. Lexis 87457, at *8, actually stands for the opposite

conclusion by holding that testing for compliance was a legitimate alternative to intending to

book a room. The case of Strojnik v. Kapalua Land Co, 2019 U.S. Dist LEXIS 165525 (Hawaii

2019) is equally flawed because the court provided no analysis of the applicable law and even

stated that a website “is not a place of public accommodation”, (Id. at *12 ), thus overlooking the

fact that the Regulation on point extends the ADA’s coverage to such websites. Moreover, the

Court’s implied ruling that the plaintiff must additionally be denied “goods, services”, etc.,

overlooks the plain language of the statute and the regulation which establish that the ORS is the

“service” and that failure to comply constitutes “discrimination”.

VII.   Plaintiff Does Intend To Visit Illinois

       Even though such is not necessary for purposes of standing, Plaintiff does indeed intend

to visit Illinois and travel throughout the entire State as soon as the Covid crisis abates. Laufer

Affid., para. 5. This includes the area of the Defendant’s hotel. Plaintiff will stay in area hotels

during her travels. Because this Defendant and so many others fail to comply with the law,

Plaintiff lacks the information she requires to make a meaningful choice. Id.



                                                       Respectfully submitted,


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